             Case 6:22-mc-00011-JDK Document 1 Filed 10/15/21 Page 1 of 1 PageID #: 1
AO 451 (Rev. 12/12) Clerk’s Certification of a Judgment to be Registered in Another District


                                         UNITED STATES DISTRICT COURT
                                                                           for the
                                                           Eastern District
                                                        __________  DistrictofofWisconsin
                                                                                 __________

                     RUBIN T. STOKES                                           )
                             Plaintiff                                         )
                                v.                                             )               Civil Action No. 18-C-1963
            BUTLER AMERICA, LLC, ET AL                                         )
                            Defendant                                          )


         CLERK’S CERTIFICATION OF A JUDGMENT TO BE REGISTERED IN ANOTHER DISTRICT


          I certify that the attached judgment is a copy of a judgment entered by this court on (date)                            11/03/2020    .

        I also certify that, as appears from this court's records, no motion listed in Fed. R. App. P. 4(a)(4)(A) is pending
before this court, the time for appeal has expired, and no appeal has been filed or, if one was filed, it is no longer
pending.


 Date:            10/15/2021
                                                                                               CLERK OF COURT


                                                                                                                  s/ J. Lyday
                                                                                                        Signature of Clerk or Deputy Clerk



          Print                          Save As...                                                                                     Reset
